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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

               Plaintiff,

  v.                                       Criminal Action No. 5:99CR13-01
                                                                   (STAMP)
  STANLEY HOBEREK,

               Defendant.


                         MEMORANDUM OPINION AND ORDER
                      AFFIRMING AND ADOPTING REPORT AND
                     RECOMMENDATION OF MAGISTRATE JUDGE

                            I.    Procedural History

        On March 4, 2005, the defendant, Stanley Hoberek, appearing

  pro se, filed a motion for reduction of sentence pursuant to 18

  U.S.C. § 3582(c)(2).           The government filed a response to the

  defendant’s motion.       This Court referred the case to United States

  Magistrate     Judge   James     E.   Seibert,    pursuant     to   28    U.S.C.

  §§ 636(b)(1)(A) and (B), to recommend disposition of this matter.

        On June 6, 2005, Magistrate Judge Seibert filed a report

  recommending that the defendant’s motion be denied. The magistrate

  judge also informed the parties that if they objected to any

  portion of his recommendation, they must file written objections

  within   ten    days   after     being   served    with    a   copy      of   his

  recommendation.     The defendant filed a timely objection.

        Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court is required

  to make a de novo review of those portions of the magistrate

  judge’s findings to which objection is made.              This Court has now
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  made an independent de novo consideration of all of the matters now

  before it and is of the opinion that the magistrate judge’s report

  and recommendation should be affirmed in its entirety.

                                   II.     Facts

        Defendant was indicted by a grand jury on February 3, 1994 in

  a   twenty-nine-count      indictment        relating        to    possession    and

  distribution of drugs. Defendant was charged in four counts of the

  indictment and was found guilty of these charges by a jury.

  Defendant    was   sentenced    to     324   months     of    incarceration      for

  conspiracy to distribute narcotics (Count One), 240 months of

  incarceration      for   the   sale,    distribution,         or    dispensing   of

  narcotics (Count Twenty-Two), and 60 months of incarceration for

  engaging in a racketeering enterprise involving narcotics (Counts

  Twenty-Three and Twenty-Four).          These sentences were to be served

  concurrently.

        The defendant appealed his conviction to the United States

  Court of Appeals for the Fourth Circuit, where the conviction was

  affirmed on August 11, 2000.         The defendant then filed a motion to

  vacate, set aside or correct sentence on October 25, 2000, which

  this Court denied.

        In his motion, the defendant seeks relief under 18 U.S.C.

  § 3582(c)(2) based on the recent holding of the Supreme Court of

  the United States in United States v. Booker, 125 S. Ct. 738

  (2005).     The defendant contends that Booker’s amendment to the


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  Sentencing Guidelines (“Guidelines”) entitles him to a sentence

  reduction because: (1) his indictment charged no drug amount; and

  (2) the jury failed to make a finding regarding drug quantity in

  his case.

        In   response,   the    government    argues   that   the   relief   the

  defendant seeks must be obtained pursuant to a motion under 28

  U.S.C. § 2255.      The government cites United States v. Winestock,

  340 F.3d 2000 (4th Cir. 2003), in support of its contention that

  this Court must construe the defendant’s motion under § 2255.              The

  government further asserts that this Court lacks jurisdiction to

  decide     such   motion   because    the   defendant   has   not   obtained

  permission from the United States Court of Appeals for the Fourth

  Circuit to file a successive § 2255 petition.                 In reply, the

  defendant argues that he does not seek § 2255 relief, and instead

  requests only the strict application of 18 U.S.C. § 3582(c)(2).

                               III.   Applicable Law

        Title 18, United States Code, Section 3582(c) states in

  pertinent part:

        The court may modify a term of imprisonment once it has
        been imposed except that –

                                       . . . .

        (2) in the case of a defendant who has been sentenced to
        a term of imprisonment based on a sentencing range that
        has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. § 994(o), upon motion of
        the defendant or the Director of the Bureau of Prisons,
        or on its own motion, the court may reduce the term of
        imprisonment, after considering the factors set forth in

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        section 3553(a) to the extent that they are applicable,
        if such a reduction is consistent with the applicable
        policy statements issued by the Sentencing Commission.

  18 U.S.C. § 3582(c)(2).

                               IV.   Discussion

        The magistrate judge first concluded that the defendant’s

  motion raises issues of constitutional law which implicate 28

  U.S.C. § 2255.      The magistrate judge noted that if this Court

  converts the defendant’s motion to one filed pursuant to § 2255, it

  would constitute a second or successive motion.             The magistrate

  judge also found that the statute requires a defendant to seek

  permission to file a successive petition from the Fourth Circuit,

  and that the docket does not reflect that the defendant obtained

  such permission.

        Alternatively, the magistrate judge found that the motion also

  lacks merit if considered under 18 U.S.C. § 3582. This finding was

  based on the conclusions that: (1) the defendant cites an act of

  the Supreme Court, rather than one by the Sentencing Commission;

  and (2) while the Fourth Circuit has not ruled on the issue,

  several circuits have found that Booker does not apply to cases on

  collateral review.      Accordingly, the magistrate judge recommended

  that the defendant’s motion be denied and dismissed.

        After review, this Court agrees with the magistrate judge that

  the defendant’s motion pursuant to 18 U.S.C. § 3582 lacks merit.

  The defendant’s motion is based on a new rule of constitutional


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  law, not a modification of the Guidelines by the Sentencing

  Commission.    Thus, 18 U.S.C. § 3582 is not the appropriate statute

  for relief.    Rather, this motion implicates 28 U.S.C. § 2255.          See

  Winestock, 340 F.3d at 206 (“a brand-new, free-standing allegation

  of constitutional error in the underlying criminal judgment will

  virtually     always   implicate      the    rules   governing     successive

  applications.”).

        The magistrate judge has also correctly noted that the record

  does not reflect that the defendant has gained permission from the

  Fourth Circuit to proceed with a successive application under 28

  U.S.C. § 2255. Thus, this Court lacks jurisdiction to consider his

  motion.

                                  V.   Conclusion

        This Court finds that Magistrate Judge Seibert has examined

  the   defendant’s      claims    carefully     and   has   provided     clear

  explanations for his recommendations.          After de novo consideration

  of the record, this Court hereby ACCEPTS and ADOPTS the magistrate

  judge’s report and recommendation in its entirety.               Accordingly,

  for the reasons stated above, the defendant’s motion for reduction

  of sentence pursuant to 18 U.S.C. § 3582(c)(2) is hereby DENIED.

        Should the petitioner choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit,

  he is ADVISED that he must file a notice of appeal with the Clerk

  of this Court within 30 days after the date of the entry of the


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  judgment order.     Upon reviewing the notice of appeal, this Court

  will either issue a certificate of appealability or state why a

  certificate should not issue in accordance with Federal Rule of

  Appellate   Procedure    22(b)(1).       If   this   Court   should   deny   a

  certification, the petitioner may request a circuit judge of the

  United States Court of Appeals for the Fourth Circuit to issue the

  certificate.

        IT IS SO ORDERED.

        The Clerk is DIRECTED to transmit a copy of this memorandum

  opinion and order to counsel of record herein. Pursuant to Federal

  Rule of Civil Procedure 58, the Clerk is DIRECTED to enter judgment

  on this matter.

        DATED:      June 21, 2005



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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